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From                                                     Kelly     Naomi    ADM
Sent                                                    Tuesday       November           14 2017 2 50 PM
To                                                       Khaw Lynn          ADM
Subject                                                  RE Dinner      w     Mayor Lee              President   Breed    and City Administrator Naomi          Kelly




Yep Thankyou


From Khaw               Lynn      ADM
Sent Tuesday              November         14 2017 249 PM
To     Kelly      Naomi      ADM
Subject          FW     Dinner     w     Mayor Lee President Breed and                        City   Administrator       Naomi     Kelly




Naomi            The dinner       is   confirmed with Dr Bates               Can    I   let   everyone      know   that the      schedule   is   confirmed    So then each

participant can enter hisher own calendar                              Lynn



From        Asha Smith         mailtoasmith ashscom
Sent Tuesday              November   14 2017 232 PM
To Khaw Lynn ADM
Subject Re Dinner Mayor Lee       w                      President     Breed and          City       Administrator   Naomi       Kelly




Hi    Lynn



I
    spoke        with   London         Breed        and 11 27 works          for   the        group and Dr Bates


Thank you

Asha


From Khaw               Lynn      ADM
Sent Tuesday              November         14 2017 131 53 PM
To     Asha Smith

Subject Dinner             w      Mayor Lee          President     Breed and       City       Administrator      Naomi     Kelly




Hello      Asha


Per our phone conversation                      I   would   like   to set   up the subject            dinner with Dr Ernest Bates           Please   let   me know   if   one of

the    following        dates work for Dr Bates



Monday 11 27              at   6pm

Thursday           11 30     at   6pm


I   will   let   know    the location      later




Thank       you
Lynn



Lynn       Khaw CPPO CPPB              CPM
Executive        Assistant     to the   City   Administrator


                                                                                                 1




                                                                                                                                                  CCSF-SHIFERAW-015536
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From                                                        Hervey      Myisha      MYR
Sent                                                        Monday November                27 2017 242 PM
To                                                          Khaw Lynn         ADM Lloyd           Kayleigh   BOS
Cc                                                          Kelly    Naomi        ADM
Subject                                                     RE Dinner        w    London and Dr        Bates




Thanks         Kayleigh



Myisha         Hervey



Direct        415 554-6695
myisha hervey sfqov or




From Khaw              Lynn    ADM
Sent Monday November                     27 2017 1 01 PM
To     Lloyd Kayleigh          BOS                                                      Hervey Myisha          MYR
Cc     Kelly        Naomi    ADM
Subject         RE    Dinner    w     London and Dr Bates



Thanks        for the       update and      I   am     copying Naomi on this               Lynn




From          Lloyd Kayleigh         BOS
Sent Monday November                     27 2017 12 37 PM
To Khaw             Lynn    ADM                                                   Hervey   Myisha     MYR
Subject         RE    Dinner    w     London and Dr Bates



Good afternoon                 hope you both had               a    lovely   holiday



Supervisor           Breed asked       me       to   let   you know that Denise Bradley Tyson                  will   be joining the group for dinner tonight            I   will


call   the     restaurant to         update      the reservation             now    Also confirming      I

                                                                                                             requested    a table   for   two next   to the   group's   table

for    Mayor        Lee's   security   team


Please        let   me know     if   you have         any questions          or   need anything from         me

Thank         you
Kayleigh




From Khaw              Lynn    ADM
Sent Wednesday                 November              22 2017 253 PM
To Hervey             Myisha    MYR                                                        Lloyd Kayleigh       BOS
Subject RE            Dinner    w     London and Dr Bates



Oh     it's   at    Mourad     will   correct         it   Lynn




From Khaw              Lynn    ADM
Sent Wednesday                 November              22 2017 248 PM

                                                                                                  1




                                                                                                                                              CCSF-SHIFERAW-015546
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To Hervey          Myisha          MYR                                                       Lloyd Kayleigh   BOS
Subject RE         Dinner          w          London and Dr Bates



I
    googled   it   and believe                 that      the restaurant    is   at   1177 California St San Francisco   CA 94108     If   it's   not correct   please     let


me know       otherwise                 I   will   let   Dr Bates know          Thanks     Lynn




From Hervey                Myisha            MYR
Sent Wednesday                 November                   22   2017 237     PM
To    Lloyd Kayleigh               BOS
Cc Khaw        Lynn        ADM
Subject       RE   Dinner          w          London and Dr Bates



Thanks     appreciate              it




Happy Thanksgiving


Myisha     Hervey



Direct   415 554-6695
myishahervey sfgov or




From     Lloyd Kayleigh                     BOS
Sent Wednesday                 November                   22   2017     236 PM
To Hervey          Myisha          MYR
Cc Khaw        Lynn        ADM
Subject       RE   Dinner          w          London and Dr Bates



Absolutely          I'll    call   them today               to   let   them know



From Hervey                Myisha            MYR
Sent Wednesday                 November                   22   2017     230 PM
To    Lloyd Kayleigh               BOS
Cc Khaw        Lynn        ADM
Subject       RE   Dinner          w          London and Dr Bates



Yes would you mind                          letting      the restaurant know the Mayor has two security with him that              will   need a table    if
                                                                                                                                                               possible

close to   the booth



Thank you



Myisha     Hervey



Direct   415 554-6695
mvisha-hervev sfgov or




From     Lloyd Kayleigh                     BOS
Sent Wednesday                 November                   22   2017     210 PM
To Hervey          Myisha          MYR




                                                                                                                                          CCSF-SHIFERAW-015547
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Cc Khaw           Lynn       ADM
Subject          RE     Dinner     w   London and Dr Bates



Thank you both for your patience                          I
                                                              went ahead and made        a reservation       for   4 at Mourad   and requested       a   booth to allow

for     some privacy Are there any requests                         I
                                                                        should   make on behalf   of      your bosses



Lynn      will    you please         let   Dr Bates'team know about the updated                   location



Sincerely

Kayleigh




From Hervey                 Myisha     MYR
Sent Wednesday                     November       22     2017 12 28       PM
To      Lloyd Kayleigh             BOS
Cc Khaw           Lynn       ADM
Subject          Re     Dinner     w   London and Dr Bates



Soundsgood


T hanks




M yisha          Hervey
D   irector       of S cheduling

Office       of    Mayor Edwin              M     Lee



Sent     from      a    mobile       device




             Original message

From Lloyd                   Kayleigh           BOS
Date 11 2217 1221                          PM   GMT 08 00
T   o    H ervey            M yisha    MY R               myisha hervey
C   c    K   haw        L   ynn    AD   M          lynn k      haw
S   ubject        R E       D inner    w    L   onclon    and D r B ates



Noted         thank         you
And apologies Supervisor Breed                         let    me know      she and Naomi are      still   discussing   a   few options   for   restaurants     Can    we
hold off on           officially    confirming      until     230       pm   Hoping to have   location      confirmed before then but wanted              to   let   them

chat

Thank you

Kayleigh




From Hervey                 Myisha     MYR
Sent Wednesday                     November       22     2017 1103        AM
To      Lloyd Kayleigh             BOS
Cc Khaw           Lynn       ADM
Subject          RE     Dinner     w   London and Dr Bates




                                                                                                                                         CCSF-SHIFERAW-015548
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Let's      plan    on Osso at     630pm         the Mayor has another         commitment     until    6pm


Myisha       Hervey



Direct      415 554-6695
myishahervey sfgov org




From        Lloyd Kayleigh         BOS
Sent Wednesday                  November        22 2017 1101      AM
To Hervey              Myisha    MYR
Cc Khaw            Lynn   ADM
Subject           Re   Dinner    w     London and      Dr Bates


Hi   all    The     Progress got back        to   me   and said they could do     6 00    pm   Is   that   too early   If   it   is   too early could     we   plan   on

Osso at 630            pm
Thank       you
Kayleigh




Sent from          my   iPhone



On Nov 22 2017              at   10 45    AM      Hervey Myisha     MYR                                           wrote


              Good Morning Kayleigh


              I   wanted    to   circle   back with you about       a location   for   dinner on     Monday 11 27       at       630pm      I   need to

              confirm a location           today with the Holiday      this   week


             Thank        you


              Myisha       Hervey



              Direct      415 554-6695

              mvisha hervev sfgov org




              From Hervey              Myisha   MYR
              Sent Tuesday             November      21 2017 11 16     AM
             To Khaw            Lynn   ADM
              Cc Lloyd       Kayleigh      BOS
              Subject       RE    Dinner    w     London and   Dr   Bates




             Thanks        Lynn


              Hi   Kayleigh-I     look    forward to hearing from you



              Myisha       Hervey



              Direct      415 554-6695
              mvisha hervev sfgov org




                                                                                                                                         CCSF-SHIFERAW-015549
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From Khaw                Lynn    ADM
Sent Tuesday               November       21     2017 10 42                AM
To Hervey               Myisha     MYR
Cc Lloyd            Kayleigh      BOS
Subject            RE    Dinner    w   London and Dr Bates



Hi    Myisha


I
     thought       it   was communicated              to   you already                Naomi mentioned           to   me   later   on that she didn't

originate this            request      Anyway         thank you for following up and                    still    holding the times on Mayor's

calendar



It   is   confirmed for          Monday 11 27              at   6 30       pm     I
                                                                                      am   not sure about        the location       and   I
                                                                                                                                              am   copying

Kayleigh           here


Kayleigh            Would you        please     let   Myisha          and    I   know the    location   for      dinner on        112717      at   6 30   Also   I




noted that you already confirmed the schedule with Dr Bates about this dinner



Thank you

Lynn

415        554-6296




From Hervey                Myisha      MYR
Sent Tuesday               November       21     2017 10 16                AM
To Khaw Lynn ADM
Subject RE Dinner                  w   London and Dr Bates

Importance               High



Hi    Lynn


I    wanted        to   follow up on the below              dates Can you confirm today whether either one of these dates

work        It's   a short       week and   I   need to finalize the Mayor's calendar



Thank you



Myisha         Hervey



Direct      415 554-6695
mvisha hervev sfgov org




From Khaw                Lynn    ADM
Sent Tuesday               November       14 2017 12 48 PM
To Hervey               Myisha     MYR
Subject RE               Dinner    w   London and Dr Bates



Hi    Myisha            Please    hold the time and             I   will   get back     soon    Thanks          Lynn



From Hervey                Myisha      MYR
Sent Monday November                      13 2017 300                  PM




                                                                                                                                              CCSF-SHIFERAW-015550
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To Khaw Lynn ADM
Subject RE Dinner                    w        London and Dr Bates



Hi   Lynn


The    Mayor        is   available            on the following        days for dinner



Monday 11 27               at       6pm
Thursday           1130         at   6pm


Myisha        Hervey



Direct    415 554-6695

mvisha hervev sfgov org




From Khaw                Lynn       ADM
Sent Monday November                              13 2017 9 17        AM
To Hervey               Myisha       MYR
Subject RE               Dinner      w        London and Dr Bates



Hi   Myisha         I    would       like      to follow     up on the request       below     Please   let   me know Thanks   Lynn




From Khaw                Lynn       ADM
Sent Tuesday               November               07    2017 11 48        AM
To Hervey               Myisha       MYR
Subject       Dinner           w     London and Dr Bates



Hi   Myisha


Naomi asked               me    to   schedule dinner between                    her London Dr Bates and the Mayor         Would you please

give     me   a    few times           that     works for the       Mayor


Thank you

Lynn



Lynn Khaw CPPO CPPB                           CPM
Executive         Assistant to the             City   Administrator

Office   of the         City   Admii   nistrator


City   and County of San Francisco

City   Hall   RM 362            1   Dr       Carlton   B   Goodlett Place

San Francisco            CA 94102
lynn khaw sfgov o                        I
                                              Tel 415 554 6296        1
                                                                          Fax   415 554 4849




                                                                                                                           CCSF-SHIFERAW-015551
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Office   of   the   City   Administrator

City   and County      of   San        Francisco

City   Hall   RM 362        1   Dr Carlton      B   Goodlett Place

San    Francisco     CA 94102

lynn khaw sfgov or                 I
                                        Tel   415 554 6296    1
                                                                  Fax   415 554 4849




                                                                                       2
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S   ubject             Dinner   w ME    L   S   upervisor   Breed and Dr Bates


Location               Mourad 140 New Montgomery               S   t   1   S   an   F   rancisco   CA   94105




S   ta   rt            11 27 2017 630           P   M

E   nd                 11 27 2017 830           P   M

S   how Time As        Busy




Recurrence             none




Meeting       Status   Organizer




Organizer              Kelly    Naomi   ADM

Required       Attendees   Asha Smith Lloyd             Kayleigh       BOS


Categories             Blue Category
